      Case 3:22-cv-02039-G Document 1 Filed 09/15/22              Page 1 of 7 PageID 1



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

EMNET SIBHAT                                  §
                                              §
        PLAINTIFF,
                                              §
                                              §
v.
                                              § CIVIL ACTION NO. _______________
                                              §
WALMART STORES TEXAS, LLC
                                              §
d/b/a WALMART
                                              §
        DEFENDANT.


                                  NOTICE OF REMOVAL


TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, WAL-MART STORES TEXAS, LLC (“Defendant”), incorrectly named

Walmart Stores Texas, LLC d/b/a Walmart, and files this Notice of Removal pursuant to 28

U.S.C. §§ 1441 and 1332.

                                               I.

                                     INTRODUCTION

        1.    Pursuant to 28 U.S.C. § 1441, et seq., this civil action is removed from the County

Court at Law No. 4, Dallas, County, Texas, where this matter was pending under Cause No. CC-

22-04473-D, in a matter styled Emnet Sibhat v. Wal-Mart Stores Texas, LLC (the “State Court

Action”).

                                              II.

                                  NATURE OF THE SUIT

        2.    Plaintiff brings this lawsuit under theories of negligence and respondeat superior

based on Plaintiff’s alleged personal injury on Defendant’s premises. See Plaintiff’s Original

Petition, at ¶¶ 11-17. Plaintiff alleges that on or about September 19, 2021, Plaintiff was


NOTICE OF REMOVAL                                                                   PAGE 1 OF 7
D/1045137v1
      Case 3:22-cv-02039-G Document 1 Filed 09/15/22                          Page 2 of 7 PageID 2



walking towards the front door and suddenly slipped and fell in a puddle of water on the floor

causing injuries and damages. Id. at ¶ 7-8. Defendant timely filed its Original Answer, denying

Plaintiff’s allegations and asserting its affirmative defenses. See Defendant’s Original Answer.

                                                      III.

                                     TIMELINESS OF REMOVAL

        3.       Plaintiff commenced this lawsuit by filing her Original Petition on

August 16, 2022.       Defendant accepted service on August 18, 2022, through its agent, CT

Corporation System. This removal is timely because it is filed within 30 days after Defendant

was served. 28 U.S.C. § 1446.1

                                                       IV.

                              BASIS FOR REMOVAL JURISDICTION

        4.       Removal is proper under 28 U.S.C. §§ 1441 and 1332 because there is complete

diversity of citizenship between Plaintiff and Defendant, and the amount in controversy exceeds

$75,000.00, exclusive of interest and costs.

        5.       Plaintiff is domiciled in the state of Texas and therefore is a citizen of Texas.

        6.       Plaintiff sued Defendant Wal-Mart Stores Texas, LLC, which is now and was at

the time of filing of this action a Delaware Limited Liability Company with its principal place of

business in Arkansas. The citizenship of an LLC is the same as the citizenship of all of its

members. Harvey v. Grey Wolf Drilling, Co., 542 F.3d 1077, 1080 (5th Cir. 2008). Wal-Mart

Real Estate Business Trust is the sole member of Wal-Mart Stores Texas, LLC.

        7.       Wal-Mart Real Estate Business Trust is a statutory business trust organized under

the laws of the State of Delaware with its principal place of business in Arkansas.                          The


1
  Per Federal Rule of Civil Procedure 6(a)(1)(C), if the last day of a period falls on a legal holiday, the period
continues to run until the end of the next day that is not a Saturday, Sunday, or legal holiday.

NOTICE OF REMOVAL                                                                                  PAGE 2 OF 7
D/1045137v1
      Case 3:22-cv-02039-G Document 1 Filed 09/15/22                Page 3 of 7 PageID 3



citizenship of a statutory trust is the citizenship of its members, which includes its shareholders.

Americold Realty Tr. v. Conagra Foods, Inc., 136 S. Ct. 1012, 1016 (2016); Bynane v. Bank of

New York Mellon for CWMBS, Inc. Asset-Backed Certificates Series 2006-24, 866 F.3d 351, 358

(5th Cir. 2017); U.S. Bank Tr., N.A. v. Dupre, 615CV0558LEKTWD, 2016 WL 5107123, at *4

(N.D.N.Y. Sept. 20, 2016) (finding that a Delaware statutory trust “seems precisely like the type

[of trust] considered by the Supreme Court in Americold”). The sole unit/shareholder of Wal-

Mart Real Estate Business Trust is Wal-Mart Property Co.

        8.     A corporation is “‘a citizen of every State and foreign state by which it has been

incorporated and of the State or foreign state where it has its principal place of business.’”

MidCap Media Fin., L.L.C. v. Pathway Data, Inc., 929 F.3d 310, 314 (5th Cir. 2019) (quoting 28

U.S.C. § 1332(c)(1)). Wal-Mart Property Co. is an incorporated entity under the laws of the

State of Delaware with its principal place of business in Arkansas.          Therefore, Wal-Mart

Property Co. is a citizen of Delaware and Arkansas. Wal-Mart Property Co. is also a wholly

owned subsidiary of Wal-Mart Stores East, LP.

        9.     Wal-Mart Stores East, LP is a Delaware limited partnership. The citizenship of a

limited partnership, for diversity jurisdiction purposes, is based upon the citizenship of each of

its partners. Harvey, 542 F.3d at 1079. WSE Management, LLC is the general partner of Wal-

Mart Stores East, LP, and WSE Investment, LLC is the limited partner. The citizenship of these

LLCs is determined by the citizenship of each of its members. See id. at 1080. The sole member

of WSE Management, LLC and WSE Investment, LLC is Wal-Mart Stores East, LLC (f/k/a

Wal-Mart Stores East, Inc.).

        10.    Wal-Mart Stores East, LLC is a limited liability company formed under the laws

of the State of Arkansas and has its principal place of business in Arkansas. The citizenship of



NOTICE OF REMOVAL                                                                      PAGE 3 OF 7
D/1045137v1
      Case 3:22-cv-02039-G Document 1 Filed 09/15/22                   Page 4 of 7 PageID 4



an LLC is the same as the citizenship of all of its members. Id. The sole member of Wal-Mart

Stores East, LLC is Walmart Inc. (f/k/a Wal-Mart Stores, Inc.).

          11.   Wal-Mart Inc. is an incorporated entity under the laws of the State of Delaware

and has its principal place of business in Arkansas. Therefore, Wal-Mart Inc. is a citizen of

Delaware and Arkansas. See MidCap Media Fin., L.L.C., 929 F.3d at 314.

          12.   Accordingly, for diversity purposes, Defendant Wal-Mart Stores Texas, LLC is a

citizen of Delaware and Arkansas.

          13.   Thus, this lawsuit is between citizens of different states, and there is complete

diversity of citizenship between Plaintiff and Wal-Mart Stores Texas, LLC pursuant to 28 U.S.C.

§ 1332.

          14.   Plaintiff seeks past and future medical care and expenses, past and future physical

pain and suffering, past and future mental anguish, loss of earning in the past, past and future

physical impairment and disfigurement, and all other relief, in law and in equity, to which

Plaintiff may be entitled. See Plaintiff’s Original Petition, ¶¶ 18 (a-j).

          15.   Plaintiff seeks monetary relief of no more than $250,000.00. Id. at ¶ 1. Thus, the

amount in controversy exceeds the jurisdictional minimum for removal to this Court.

                                                  V.

                      THIS NOTICE IS PROCEDURALLY CORRECT

          16.   Based on the aforementioned facts, the State Court Action may be removed to this

Court by Defendant Wal-Mart Stores Texas, LLC in accordance with the provisions of 28 U.S.C.

§ 1441(a) because: (i) this action is a civil action pending within the jurisdiction of the United

States District Court for the Northern District of Texas; (ii) this action is between citizens of

different states; and (iii) the amount in controversy exceeds $75,000.00, exclusive of interest and



NOTICE OF REMOVAL                                                                     PAGE 4 OF 7
D/1045137v1
      Case 3:22-cv-02039-G Document 1 Filed 09/15/22                 Page 5 of 7 PageID 5



costs as specifically plead in Plaintiff’s Original Petition.

         17.    Defendant has attached to this Notice of Removal the documents required by 28

U.S.C. § 1446(a) as follows:

                A.      Docket Sheet in the State Court Action;
                B.      Index of all documents filed in the State Court Action; and
                C.      Copies of all process, pleadings and orders filed in State Court.

         18.    Defendant also is filing with the Notice of Removal a completed Civil Cover

Sheet, a Supplemental Civil Cover Sheet and a Certificate of Interested Persons.

         19.    Defendant retains the right to supplement the jurisdictional allegations by

affidavit, declaration, or otherwise should Plaintiff challenges the allegations in a motion to

remand or other filing.

         20.    In accordance with 28 U.S.C. § 1446(d), written notice of the filing of this Notice

of Removal will be given to all parties and to the Clerk of the County Court at Law No. 4, Dallas

County Texas, where this matter was pending under Cause No. CC-22-04473-D, in a matter

styled Emnet Sibhat v. Wal-Mart Stores Texas, LLC.

         21.    A jury trial has been demanded in the State Court Action by Defendant.

         22.    Trial has not commenced in the County Court at Law No. 4, Dallas County,

Texas.

                                                  VI.

                                           CONCLUSION

         23.    Because diversity jurisdiction exists over Plaintiff’s claim as set forth in

Plaintiff’s Original Petition, Defendant desires and is entitled to remove the lawsuit filed in the

County Court at Law No. 4, Dallas County, Texas to the United States District Court for the

Northern District of Texas, Dallas Division.

         WHEREFORE, PREMISES CONSIDERED, Defendant Wal-Mart Stores Texas, LLC

NOTICE OF REMOVAL                                                                       PAGE 5 OF 7
D/1045137v1
      Case 3:22-cv-02039-G Document 1 Filed 09/15/22               Page 6 of 7 PageID 6



(incorrectly named Walmart Stores Texas, LLC, d/b/a Walmart), files this Notice of Removal

pursuant to and in conformance with the statutory requirements, and removes this action from

the County Court at Law No. 4, Dallas County, Texas.

        FURTHER, Defendant prays that Plaintiff take nothing by this suit against Defendant,

that Defendant be discharged, and that the Court grant such other and further relief, both general

and special, at law and in equity to which Defendant may be justly entitled.



                                             Respectfully submitted,

                                             COOPER & SCULLY, P.C.

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                                             WAL-MART STORE TEXAS LLC




NOTICE OF REMOVAL                                                                    PAGE 6 OF 7
D/1045137v1
      Case 3:22-cv-02039-G Document 1 Filed 09/15/22              Page 7 of 7 PageID 7



                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served on all
counsel of record named below, via facsimile, certified mail/return receipt request, electronic
mail, and/or e-service on this 15th Day of September, 2022.

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NOTICE OF REMOVAL                                                                   PAGE 7 OF 7
D/1045137v1
